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AFFIDAVIT OF SERVICE

 

UNITED STATES DISTRICT COURT
District of Oregon

Case Number: 6:23-CV-00819-AA

Plaintiff:
Debbie Koehnke,

vs.

Defendant:
Unum Life Insurance Company of America,

Received by RUSH PROCESS SERVICE, INC. to be served on Unum Life Insurance of America c/o
Corporation Service Company, 1127 Broadway St NE, Suite 310, Salem, OR 97301.

|, Mitchell Garcia, being duly sworn, depose and say that on the 9th day of June, 2023 at 3:02 pm, I:

SERVED Unum Life Insurance of America c/o Corporation Service Company by serving 1 true copy of the
Summons; Complaint; Case Management Order; Civil Cover Sheet; Civil Case Assignment Order;
Discovery and Pretrial Scheduling Order; Fed. R. Civ. P. 26(a)(1) Discovery Agreement; Consent to
Jurisdiction by a Magistrate Judge and Designation of the Normal Appeal Route; Civil Case
Management Time Schedules to Christina Hammock, Service of Process Technician at 1127
Broadway St NE, Suite 310, Salem, OR 97301.

| am a competent person 18 years of age or older and a resident of the state of service or this state and am
not a party to nor an officer, director or employee of, nor attorney for any party, corporate or otherwise; and
the person, firm, or corporation served is the identical one named in the action.

| hereby declare that the above statement is true to the best of my knowledge and belief, and that |
understand tt is made for use as evidence in court and is subject to penalty for perjury.

 

      
 

 

 

 

 

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3 “5 Mitahell Garcia
Subscri ig wor to before me on the AX Process Server
day of , 2023 by the affiant 6/2 8/3
hq is p win to me.
ask a . Date
\ 2 AK :
HOTARY PUBLIC RUSH PROCESS SERVICE, INC.
(\ 2014 N.E. Sandy Blvd., Suite 204
Portland, OR 97232
OFFICIAL STAMP ;
MIGHAEL KENNEDY (503) 232-3667
NOTARY PUBLIC - OREGON

  

SE" COMMIBBION NO. S885 Our Job Serial Number: SKS-2023005386
MY COMMISBION EXPIRES FEBRUARY 14, 2024

 

 

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